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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                        ELECTRONICALLY FILED
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I
l            Plaintiff,                             18-cv-5427 (JSR)
I
I
1       -against-                                   ORDER
!
I
: HONG KONG UCLOUDL INK NETWORK
I TECHNOLOGY LIMITED and
I
I UCLOUDL INK (AMERICA) , LTD.,
I
I                                        I
1            Defendants.                 I
L---------------------------1
JED S. RAKOFF, U.S.D.J.

       In this patent infringement action, plaintiff SIMO Holdings

Inc.    ("SIMO")    and     defendants       Hong    Kong        uCloudlink         Network

Technology Limited and uCloudlink              (America),        Ltd.    (collectively,

"uCloudl ink")     cross-moved for       summary      judgment.         Based upon         the

briefing and oral argument, the Court hereby rules as follows:

       SIMO's motion for summary judgment of infringement of claims

8 and 11 of Patent No.        9,736,689 is granted. uCloudlink's motion

for    summary   judgment    of   non-infringement          as    to     all      claims    is

correspondingly denied.

       SIMO' s motion     for partial        summary judgment of validity                   is

granted to the extent of ruling that the Kasper reference does not

constitute prior art.

       uCloudlink's     motion    for    summary      judgment          of   no    pre-suit

damages is granted to the extent that SIMO is deemed to have given
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actual notice of infringement as to the G2, G3, and U2 devices on

August 13, 2018, and as to the Sl device on August 20, 2018.

     An Opinion explaining the reasons for these rulings will issue

in due course.

     SO ORDERED.

Dated:       New York, NY

             Apr i 1   JZ ,   2 01 9            JED S. RAKOFF, U.S.D.J.
